     Case 1:19-cr-00227-JLS-MJR Document 272 Filed 04/20/22 Page 1 of 3




IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK
______________________________________________

UNITED STATES OF AMERICA,

             v.                                             19-CR-227-JLS

PETER GERACE, JR., and
JOSEPH BONGIOVANNI,

                        Defendants.
______________________________________________


     MOTION TO SEAL GOVERNMENT’S RESPONSE TO DEFENDANTS’
   SUPPLEMENTAL MOTION FILED AT DOCKET 265 SEEKING TO OBTAIN
      DISCLOSURE OF GRAND JURY EVIDENCE AND INSTRUCTIONS

       THE UNITED STATES OF AMERICA, by and through Trini E. Ross, United

States Attorney for the Western District of New York, and Joseph M. Tripi, Assistant

United States Attorney, hereby submits this motion to seal the Government’s Response to

the Defendant’s Supplemental Motion to Obtain Disclosure of Grand Jury Evidence and

Instruction. This motion is based on the accompanying Affidavit of Joseph M. Tripi,

Assistant United States Attorney.


       DATED: Buffalo, New York, April 20, 2022.


                                               TRINI E. ROSS
                                               United States Attorney

                                        BY:   s/JOSEPH M. TRIPI
                                              Assistant United States Attorney
                                              United States Attorney’s Office
                                              Western District of New York
                                              138 Delaware Avenue
                                              Buffalo, New York 14202
                                              (716) 843-5839
                                              Joseph.Tripi@usdoj.gov
      Case 1:19-cr-00227-JLS-MJR Document 272 Filed 04/20/22 Page 2 of 3




IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK
______________________________________________

UNITED STATES OF AMERICA,

              v.                                                 19-CR-227

PETER GERACE, JR., and
JOSEPH BONGIOVANNI,

                  Defendants.
______________________________________________


                                        AFFIDAVIT

 STATE OF NEW YORK )
 COUNTY OF ERIE    ) SS:
 CITY OF BUFFALO   )


        JOSEPH M. TRIPI, being duly sworn, deposes and states:


       1.     I am an Assistant U.S. Attorney for the Western District of New York and am

assigned to the prosecution of above-captioned case. This affidavit is made in support of the

government’s motion to seal the government’s response to the defendants’ joint

supplemental motion to obtain disclosure of grand jury evidence and instructions. See Doc.

No. 265.



        2.     On March 9, 2022, Counsel for the defendants filed a joint supplemental

 motion to obtain disclosure of grand jury evidence and instructions. See Doc. No. 265.

 After reviewing the defense filing, the government moved to seal the defense filing because

 it contained summarized grand jury testimony. See Doc. No. 267. On April 14, 2022, the
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 Court granted the government motion to seal the defense filing. See Text Order, Doc. No.

 270.


         3.    The government respectfully requests that its response in opposition to the

 defendants’ supplemental motion, filed at Docket 265, be filed under seal because the

 government’s response will contain references to the grand jury, and will summarize

 portions of grand jury testimony.



        WHEREFORE, for the foregoing reasons, the government respectfully requests that

the Court grant the government’s motion to seal its response in opposition to defendant’s

supplemental motion filed at Docket 265.



         DATED: Buffalo, New York, April 20, 2022.


                                                  TRINI E. ROSS
                                                  United States Attorney


                                            BY:   s/JOSEPH M. TRIPI
                                                  Assistant United States Attorney
                                                  United States Attorney’s Office
                                                  Western District of New York
                                                  138 Delaware Avenue
                                                  Buffalo, New York 14202
                                                  (716) 843-5839
                                                  Joseph.Tripi@usdoj.gov


Sworn to before me this 20th
day of April, 2022.


s/ELIZABETH HARF, Commissioner of Deeds
In and for the City of Buffalo, New York.
My Commission Expires Dec. 31, 2022


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